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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


   April Adriana Fox,

                  Plaintiff,                             File No: 1:16-cv-1467

   vs


   Blue Cross Blue Shield of MI Mutual Ins. Co
                Defendant.


   Timothy A. O'Rourke (P32443)
   Attorney for Plaintiff
   TIMOTHY A. O’ROURKE, PLLC
   422 W. Lenawee
   Lansing, MI 48933
   PH: (517) 372-2900




                                           COMPLAINT

          NOW COMES Plaintiff, April Fox by and through her attorney, Timothy A. O'Rourke, and

   states as a Complaint in the above-entitled cause of action, the following:

          1.      Plaintiff (whose Social Security Number is XXX-XX-7766) is a resident of the City

   of Lansing, County of Ingham, State of Michigan.

          2.      Plaintiff was the beneficiary of a policy providing disability insurance benefits as a

   benefit of employment, and includes the following identifying information:

                  A.      Employer:              Blue Cross/Blue Shield Assoc.

                  B.      Defendant's Claim No:          13–01205-01
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          3.      Plaintiff has been denied benefits under the policy wrongfully, and contrary to the

   terms and provisions contained therein.

          4.      Plaintiff has exhausted all appeals provided by said company, and the only remaining

   avenue of redress is the filing of the within cause of action.

          5.      Jurisdiction is granted this Court as a federal Question, under the provisions of the

   Employees Retirement Income Security Act (ERISA).

          6.      The following circumstances require consideration in adjudicating this matter:

                  A.      The defendant accepts a premium to insure the payment of disability benefits,
                          and is directly and financially affected by the payment of such benefits, and
                          is not a "trustee" of benefits funds belonging to another party;

                  B.      Defendant obtains a financial benefit through the elimination or denial of the
                          payment of claims such as that denied this Plaintiff; and,

                  C.      The insurance policy under which benefits are being paid does not provide
                          for the delegation of authority to defendant as the sole determiner of claims
                          in a clear and express manner.

           WHEREFORE, Plaintiff seeks judicial review by this Court and the entry of a Judgment

   for such relief as may be proper, specifically including an award of past due benefits; ongoing

   benefits; as well as costs, interest, and reasonable attorney fees.



                                                  Respectfully submitted,


   Dated: December 29, 2016                       /s/
                                                  Timothy A. O'Rourke (P32443)
                                                  Attorney for Plaintiff
                                                  422 W. Lenawee
                                                  Lansing, MI 48933
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